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KINTERA, INC.,
a Delaware corporation,

Plaintiff,
VS.

CONVIO, INC.,
a Delaware corporation,

Defendant.

olf (State Bar No. 195536)

KINTERA’S OPPOSITION TO CONVIO’S
MOTION TO COMPEL PRODUCTION
P. 115322(2GZ4011, DOC)

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DEPUTY

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

Civil No. 02-0264-BTM (LSP)

KINTERA, INC.’S OPPOSITION
TO CONVIO, INC.’S MOTION TO
COMPEL PRODUCTION OF
DOCUMENTS BY PLAINTIFF
KINTERA, INC,

Date: July 14, 2003
Time: 9:00 a.m.
Judge: Hon. Leo 8. Papas

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I, INTRODUCTION

Convio’s Motion to Compe! Production of Documents by Plaintiff Kintera, Inc. (the
“Motion”) is a misleading muddle of inadmissible evidence, unsupported accusations and
improper argument. Rather than addressing the issues on which it is actually seeking relief,
Convio engages in a blatant smear campaign designed to impugn the credibility of Kintera and
the professionalism of its counsel by, among other things, improperly and inaccurately disclosing
settlement discussions between counsel.’ It is far from clear exactly what relief Convio is
requesting in its Motion because, instead of discussing the documents Convio seeks to compel
production of, Convio makes specious allegations that Kintera is attempting to intimidate and
harass Convio and its customers. Indeed, Convio’s Motion to Compel reads more like a motion
to dismiss. Of the three questions Convio claims its Motion presents, only the first question is
properly before this Court — whether Kintera may withhold third-party witness statements and
related documents on the basis of the work product doctrine.

After the impertinent and inflammatory argument is stripped away, all that is left of
Convio’s Motion is thin authority and weak argument concerning a run-of-the-mill discovery
dispute between the parties regarding the application of the work product doctrine and attorney
client privilege to two different sets of documents, The first set of documents is third party
witness statements and other documents containing communications with those third parties, all
created in anticipation of this litigation. Convio, confusing the issue, argues strenuously that
these documents cannot possibly expose the mental impressions of Kintera’s attorneys. Convio
conveniently ignores the fact that even documents devoid of attorney opinions, but still prepared
in anticipation of litigation, are work product protected from discovery under Rule 26(b)(3).
Furthermore, most of the documents do, indeed, contain Kintera’s attorney’s mental impressions.

The second set of documents, which Convio erroneously characterizes as between

Kintera employees and third parties, is e-mails between non-attorney employees of Kintera sent

} The passages referring to settlement discussions, as well as other passages, are the subject of
Kintera’s Objection and Motion to Strike the Declaration of Chad Fuller and the Declaration of
Patrick Dillon (“Motion to Strike”), filed contemporanecusly with this opposition.

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at the direction of in-house counsel, which, by their nature, reflect the substance of attorney-
client conversations. For this reason, Kintera has properly asserted both attorney-client privilege
and work product protection on these documents. These documents, however, are not properly
the subject of Convio’s Motion to Compel because Convio never attempted to meet and confer
with Kintera regarding these documents as required by Civ. LR 26.1(a). For this reason, the
Court should decline to hear Convio’s Motion regarding these documents until the parties have
had an opportunity to attempt to resolve the dispute in the appropriate meet and confer process.

Accordingly, the Court should deny Convio’s Motion to Compel.”

II. CONVIO IS NOT ENTITLED TO OBTAIN KINTERA’S THIRD
PARTY WITNESS STATEMENTS AND RELATED DOCUMENTS.

Before it brought this lawsuit, Kintera had conversations with two former employees of
Convio, both of whom informed Kintera of potential improper conduct by Convio. (Declaration
of Michael Rahman in Support of Kintera, Inc.’s Opposition to Convio, Inc.’s Motion to Compel
Production of Documents by Plaintiff Kintera, Inc. (“Rahman Decl.”), § 2). After discussions
with these third parties regarding these allegations, Kintera obtained signed witness statements
from both third parties. (Rahman Decl., | 4). Kintera has placed the following documents
related to these third party witness inviews on the its privilege log (the current revised version is
attached hereto as Exhibit 1): (i) the witness statements (documents 121 and 122); (ii) emails

reflecting the ongoing conversations between Kintera and the third parties (documents 10, 14,

* Because of their highly prejudicial nature, Kintera feels compelled to address briefly the numerous
allegations in Convio’s Motion that Kintera’s pursuit of this litigation is motivated by a desire to
“scare and intimidate Convio.” See, ¢.g., Motion at 1-5. Aside from the obvious point that Convio is
placing these allegations in a motion to compel to which they are wholly irrelevant, Convio’s
allegations are simply false. Despite Convio’s emphasis on the claims regarding the
misappropriation of the CD-ROM, this case does not revolve solely around the CD-ROM. Convio
conveniently ignores the allegations in Kintera’s Second Amended Complaint that Convio
unlawfully accessed Kintera’s demonstration web site created for the Komen Foundation by using a
password-protected URL it obtained from Komen, See Second Amended Complaint, ff 49-53.
Convio has admitted that it copied confidential information from Kintera’s web site. Furthermore,
Convio’s allegedly privileged document (the subject of Kintera’s cross-motion to compel) also
confirms that Convio relied upon the confidential information it copied from Kintera’s web site in
designing its competing TeamRaiser product. Therefore there is substantial undisputed evidence
Supporting Kintera’s claims in this lawsuit. Convio cannot credibly claim otherwise.

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KINTERA’S OPPOSITION TO CONVIO'S

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16, 17, 26, 28, 82-83,’ and 87-109); and (111) recorded conversations with the third parties (112
and 113)." . Kintera has properly asserted the work product doctrine in withholding each of these

documents (collectively, the “third party witness documents”) from Convio. °

A. Convio Does Not Dispute That The Third Party Witness
Documents Are Fact Work Product, And It Has Failed To
Make An Adequate Showing Of Need To Obtain Them.

1. The third party witness documents are protected by the
work product doctrine.

Convio argues that it is entitled to the third party witness documents because it
erroneously contends they do not contain the mental impressions of Kintera attorneys and are
therefore not protected by the work product doctrine. Motion at 8. In addition to being incorrect
about the content of most of the documents (see infra Part II.B.), Convio has also
mischaracterized the law. Even information that is purely factual falls under the protection of the
work product doctrine if it is “prepared in anticipation of litigation” by a party. Fed. R. Civ. P.
26(b)(3); see also Hickman vy. Taylor, 329 U.S. 495, 512 (1947). Convio does not, and cannot,
dispute that the third party witness documents were prepared by Kintera in anticipation of
litigation — by their very nature, they were written and maintained by Kintera in the process of
determining whether to bring this lawsuit. (Rahman Decl., { 3).

These documents, therefore, are virtually identical to witness statements that have been
protected from disclosure under the work product doctrine ever since Hickman, the seminal case
regarding work product protection. See Hickman, 329 U.S. at 510. Indeed, the facts of Hickman

are strikingly similar to those here. The documents at issue in Hickman were witness statements

3 Convio moves to compe! document 84. However, upon review of this document for purposes of
preparing this opposition, Kintera discovered that document 84 and document 83 are duplicates.
Kintera has therefore removed document 84 from its revised privilege log. See Exhibit 1.
* As explained on Kintera’s revised privilege log, document 112 is a recording of a conversation
between Mr. Rahman and Mr, Anderson, and document 113 is a recording of a conversation between
Mr. Rahman and Ms. Tomich. See Exhibit 1.
5 In reviewing the Amended Privilege Log Kintera provided Convio on April 9, 2003, for purposes of
preparing this opposition, Kintera noticed that it inadvertently claimed attorney client privilege and
work product protection on document 121, and inadvertently did not place any designation for
document 122. Kintera has clarified on its revised privilege log that it asserts only work product
protection for both documents 121 and 122. See Exhibit 1.

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taken by attorney Fortenbaugh and signed by the witnesses. /d. at 498. The Supreme Court held
that there was no “discovery as of right of oral and written statements of witnesses whose identity
is well known and whose availability... appears unimpaired.” Id. at 509 (emphasis added), In
accordance with Hickman, courts routinely hold that witness statements like those here are
protected by the work product doctrine. See, e.g., Spruill v. Winner Ford of Dover, Ltd., 175
F.R.D. 194, 201-02 (D. Del. 1997) (finding witness statements protected by the work product
doctrine); Basinger v. Glacier Carriers, Inc., 107 F.R.D. 771, 774-75 (M.D. Pa. 1985) (same).

2. Convio has failed to make the showing necessary to
obtain the third party witness documents.

Because Kintera has established the applicability of the work product doctrine to the third
party witness documents, the burden shifts to Convio to demonstrate that it has a “substantial
need” for these documents and that it would be subject to an “undue hardship” if it were required
to obtain the information from elsewhere. Fed. R. Civ. P. 26(b)(3). “Substantial need” exists
when the facts contained in the protected document are essential elements of the case and when
the facts contained in the document cannot be obtained from another source. Fletcher v. Union
Pacific Railroad Co., 194 F.R.D, 666, 670-71 (S.D. Cal. 2000). For instance, in Fletcher, the
court concluded that the plaintiff, who was claiming that he was injured on the job, had no
substantial need for surveillance tapes made of him by the defendant because the tapes would not
be introduced at trial, /d, at 672-74. Furthermore, the plaintiff had other evidence of his injuries,
so the information contained in the tapes were obtainable elsewhere. Therefore, the plaintiff had
access to “substantially equivalent evidence,” defeating the claim of undue hardship. /d. at 675;
see also United States v. Chatham City Corp., 72 F.R.D. 640, 644 (S.D. Ga. 1976) (“[D]iscovery
of work product material will be denied if the information desired can be obtained by
deposition.”).

Convio has not even attempted to argue that it has a substantial need for these documents
(nor could it establish such substantial need), The closest Convio comes are multiple statements

that justice or fairness requires Kintera to produce these documents. Motion at 8, 10. However,

4.
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simple appeals to equity cannot take the place of an unambiguous test provided for in the Federal
Rules of Civil Procedure. See, e.g., in re Shoreline Concrete Co., 831 F.2d 903, 905 (9th Cir.
1987) (“[A] fundamental principle of equity jurisprudence is that ‘equity follows the law.””).

Convio’s failure to articulate any reason that it requires access to the third party witness
documents is not surprising. Convio cannot demonstrate that it would be unable to obtain the
information contained in the third party witness documents from another, substantially
equivalent source through traditional discovery methods. As Convio acknowledges, if it wishes
to discover what Mr. Anderson and Ms. Tomich know about the allegations in this case, it can
simply depose those two witnesses. Motion at 9. Mr. Anderson and Ms. Tomich are represented
in this action by the law firm of Hunton & Williams, which can presumably schedule the
deposition of either or both witnesses if Convio wishes.° Convio has not even tried to schedule
a deposition. In fact, at an earlier stage of this litigation, Convio objected to Kintera’s attempt to
depose Ms. Tomich and obtained a stay of all discovery in this case.

Convio erroneously claims that the contents of the third party witness documents cannot
be recreated through a deposition because the documents are contemporaneous statements
regarding Convio’s copying of Kintera’s website. Motion at 8-9. The acts alleged in Kintera’s
complaint took place in or around July 2001. The documents Convio seeks were consequently
written 6 to 10 months after the acts complained about. See Exhibit 1. They are not
contemporaneous statements by any reasonable definition of that term. See, e.g., City of
Springfield v. Rexnord Corp., 196 F.R.D. 7, 10 (D. Mass. 2000) (statements made “at the time of
an incident” are “unique in that they provide a contemporaneous impression of the facts’’)
(emphasis added); Suggs v. Whitaker, 152 F.R.D. 501, 508 n.5 (M.D.N.C. 1993) (‘Statements

made several weeks or a month after the event may not so qualify [as contemporaneous

® Convio’s criticism of Kintera for obtaining counsel for Mr. Anderson and Ms. Tomich on the
grounds that Kintera was attempting to “deprive” Convio of the ability to speak with these witnesses
is shocking. Motion at 2, 9, Kintera hired separate counsel for Mr. Anderson and Ms. Tomich in
order to guard against potential harassment and intimidation of these former Convio employees.

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KINTERA’S OPPOSITION TO CONVIO’'S

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statements].”)}; Basinger, 107 F.R.D. at 774-75 (statements procured one month after incident
were not contemporaneous).

Convio can obtain evidence substantially equivalent to the third party witness document
by deposing Mr. Anderson and Ms. Tomich, and it must do so rather invade Kintera’s work
product. See, e.g., AT&T Corp. v. Microsoft Corp., 2003 U.S. Dist. LEXIS 8710 at *18 (N.D.
Cal. Apr. 18, 2003) (“[I]f the party seeking production could elicit the same information through
deposition, then the need for the documents is diminished. . . .”); Chatham City Corp., 72 F.R.D.

at 644.

B. Most Of The Third Party Witness Documents Contain Opinion
Work Product And Are Therefore Protected To An Even
Greater Extent.

Beyond the factual work product discussed above, most of the third party witness
documents also contain opinion work product, and are properly withheld on that basis as weil.

Opinion work product discloses the “mental impressions, conclusions, opinions, or legal
theories of an attorney or other representative of a party concerning the litigation.” Courts have
found the questions attorneys ask third party witnesses in interviews to be opinion work product
because they disclose these mental impressions. For instance, in Connolly Data Systems, Inc. v.
Victor Technologies, Inc., 114 F.R.D. 89 (S.D. Cal. 1987), a case cited by Convio in its Motion,
the court held that “a party cannot discovery what an attorney said to a witness in interviewing
him or in preparation for his deposition because such statements are likely to reveal the
attorney’s mental impressions, opinions and theories of the case.” /d. at 96. The court therefore
ordered that, while the witness’s factual knowledge could be explored at deposition, opposing
counsel could not inquire about the questions asked by the attorney, the general line of inquiry
pursued by the attorney, or the facts the attorney appeared particularly interested in. /d.

As with the protected attorney questioning in Connolly, many of the documents at issue

(Nos. 16, 17, 26, 28, 82-84, 87-100, 106-109, 112 and 113) are opinion work product. These

’ These are documents 16, 17, 26, 28, 82-84, 87-100, 106-109, 112 and 113.
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KINTERA’S OPPOSITION TO CONVIO’S

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documents reflect communications between Michael Rahman, in-house counsel for Kintera, and
the third party witnesses, and therefore necessarily reflect the mental impressions of Mr.
Rahman. The e-mails contain the questions Mr. Rahman asked of Mr. Anderson and Ms.
Tomich and the areas of inquiry that Mr. Rahman focused on with the third party witnesses.
(Rahman Decl., 9 5). This is also particularly true of documents 112 and 113, which are
recordings of conversations between Mr. Rahman and the third party witnesses and contain
direct questioning of the third party witnesses. Jd.

As above with fact work product, Convio has not and cannot show that it is entitled to
obtain Kintera’s opinion work product. The showing necessary to obtain opinion work product
is significantly greater than the substantial need and undue burden showing necessary for
disclosure of fact work product. Upjohn Co. v. United States, 449 U.S. 383, 401-02 (1981). In
the Ninth Circuit, opinion work product is discoverable only if the mental impressions of the
attorney are directly at issue in the case and the need for the material is compelling. Holmgren v.
State Farm Mutual Automobile Ins. Co., 976 F.2d 573, 577 (9th Cir. 1992). Here, there can be
no claim that the mental impressions of Kintera’s attorneys are at issue, nor can Convio assert
any compelling need for Kintera’s opinion work product. Because Convio has not articulated
any need for these documents, let alone the compelling need required by the law, Convio is not

entitled to obtain these documents.

Cc. Kintera Has Not Waived Its Work Product Protection.

Convio appears to allege in its Motion that Kintera has waived its work product
protection because, based on the double hearsay allegations of a Convio salesman, Patrick
Dillon,® Kintera allegedly offered to disclose the third party witness statements (documents 121
and 122) to a Convio customer. See Motion at 3, 4.

_ Even as alleged by Convio, the most Kintera has done is merely offer to disclose work

product information. This cannot form the basis of a waiver. Unlike attorney client privilege,

* Kintera has objected to and moved to strike the Dillon Declaration as inadmissible. See Motion to
Strike,

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which may be waived if the privileged information is disclosed to any third party, the work
product protection is waived only if a protected document is disclosed voluntarily to an opposing
party, or to a third party under circumstances that make it likely the work product information
will become available to the opposing party. See, e.g., Niagara Mohawk Power Corp. v. Stone &
Webster Engineering Corp., 125 F.R.D. 578 (N.D.N.Y. 1989). Convio has not, and cannot,
allege that the third party witness documents were ever disclosed under such circumstances.

Therefore, Kintera has not waived its work product protection.

Il. CONVIO IS NOT ENTITLED TO THE OTHER DOCUMENTS IT
SEEKS TO COMPEL.

Other than the third party witness documents discussed above, Convio improperly seeks
to compel documents 36, 41, 65, and 70-78 (collectively, the “McNeill documents”). These
documents are e-mails written at the direction of in-house counsel by J.P. McNeill, a Kintera
employee, to other Kintera employees. Prior to bringing its Motion, Convio failed to meet and
confer with Kintera regarding the McNeill documents, in violation of Civ. LR 26.1(a). It is
therefore highly improper for Convio to be moving on these documents, and, pursuant to the
Civil Local Rules, this Court should not entertain Convio’s motion with respect to the McNeill
documents.

However, on the merits, it is clear that Kintera’s claims of attorney client privilege are
proper.” “[Attorney client] privilege protects from disclosure communications among corporate
employees that reflect advice rendered by counsel to the corporation. ... This follows from the
recognition that since the decision-making power of the corporate client may be diffused among

several employees, the dissemination of confidential communications to such persons docs not

defeat the privilege.” Bank Brussels Lambert v. Credit Lyonnais (Suisse} S.A., 160 F.R.D. 437,

” Convio erroneously claims that documents 26, 28, 121, and 122, which are part of the third party
witness documents, fall in this category of documents, on which both work product protection and
attorney client privilege is claimed. Motion at 6 n.1, Kintera’s privilege log does not claim attorney
client privilege on documents 26 and 28, and as explained supra, note 6, Kintera is not claiming
attorney client privilege on documents 121 and 122. Furthermore, although Convio asserts that
Kintera’s claim of privilege for documents 52 and 53 is “highly questionable,” Convio Motion at 7,
Convio does not request that this Court order the production of these two documents.

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442 (S.D.N.Y. 1995) (emphasis added). Mindful of not waiving the privilege by describing the
content of the communications in this brief,'° the McNeill documents were written by J.P.
McNeill, Kintera’s Vice President of Sales, at the direction of in-house counsel and in
preparation for this litigation pursuant to Kintera’s discovery obligations. (Rahman Decl., J 6).
Because the McNeill documents were disseminated between Kintera employees, and reflect legal
advice from counsel, they are protected by attorney client privilege.

As noted above, Convio failed properly to meet and confer regarding the McNeill
documents. Convio therefore fundamentally misunderstands the nature of these documents,
alleging that they are between Kintera and third parties. They are not. J.P. McNeill, as already
stated, is Kintera’s Vice President of Sales. Rahman Decl., { 6. Denise Clancy, a recipient on
each of these e-mails, was at the time Mr. McNeill’s secretary. Za. Allen Gruber, a recipient of
many of the documents, is Kintera’s Executive Vice President. /d. And Michael Aufichtig, a
recipient on document 65, is a Kintera sales representative. fd. Accordingly, there is no basis to
claim that Kintera has waived its privilege in these documents.

These same facts also establish that the McNeill documents are protected from disclosure
as opinion work product — they were prepared in anticipation of litigation and reflect the mental
impressions of an attorney. As above, Convio has neither attempted to provide a compelling
need for these documents, nor could it provide one. Any information contained within the

McNeill documents are therefore also protected from discovery by the work product protection,

IV. CONCLUSION
For the foregoing reasons, Kintera respectfully requests that this Court determine that

Kintera has properly invoked the attorney client privilege and/or the work product protection

'° As shown on Kintera’s privilege log, the contents of the e-mails are related to Kintera’s
demonstration CD-ROMs, 40 of which were photocopied and produced to Convio, See documents
with bates labels KNTRO01744-83. Kintera has also provided other documents relating to Kintera’s
demonstration CD-ROM. (See Rahman Decl., Ex. B). Convio’s claims that Kintera has not
provided any documents regarding the CD-ROM are therefore simply false, and are belied by
Convio’s failure even to attempt a meet and confer with Kintera regarding any alleged deficiency in
Kintera’s document production. See Motion at 9-10. Kintera remains ready and willing to discuss
with Convio any alleged deficiencies in its discovery.

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KINTERA’S OPPOSITION TO CONVIO’S

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1)! with regard to documents 10, 14, 16, 17, 26, 28, 36, 41, 65, 70-78, 82-84, 87-109, 112, 113, 121
2!| and 122, and therefore deny Convio’s Motion to Compel in its entirety.

31! June 27, 2003 Respectfully submitted,

5 Cex 2

Robert P. Taylor (State Bar No. 46046)

6 Robert N. Phillips (State Bar No. 120970)

7 Buckmaster de Wolf (State Bar No. 195536)
Ethan B. Andelman (State Bar No. 209101)

8 HOWREY SIMON ARNOLD & WHITE, LLP

9

Michael A. Rahman
Kintera, Inc.

Attorneys for Plaintiff KINTERA, INC.

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3 ' All recipients fisted in this column were, at the time the communication occurred, employees of Kintera, Inc., except for Michaet Anderson and Heidi Tomich, who were third
Y parties, and Robert Phillips, Buckmaster de Wolf, Erik Moller, Ethan Andelman, and Terry Ahern, who were outside counsel for Kintera.
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Robert N. Phillips (State Bar No. 120970)
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Michael A. Rahman

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9560 Scranton Road, Suite 240
San Diego, California 92121
Telephone: (858) 795-3011
Facsimile: (858) 795-3010

Attorneys for Plaintiff KINTERA, INC.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

KINTERA, INC.,

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a Delaware corporation, Civil Action No. 02-0264-BTM (LSP)
Plaintiff, CERTIFICATE OF SERVICE

VS.

CONVIO,INC.,
a Delaware corporation,

Defendant.

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Certificate of Service

Civil Action No, 02-0264-BTM (LSP)

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I am a citizen of the United States, over the age of eighteen years, and I am not a
party to the within action. My business address is 301 Ravenswood Avenue, Menlo Park,
California 94025.

On June 27, 2003, at my place of business, I caused a true and correct copy of the

following document(s):

Kintera, Inc.’s Opposition to Convio, Inc.’s Motion to Compel
Production of Documents by Plaintiff Kintera, Inc.;

Declaration of Michael Rahman in Support of Kintera, Inc.’s Motion
to Compel Production of Documents by Plaintiff Kintera, Inc.;
Kintera, Inc.’s Objection and Motion to Strike the Declaration of

Chad Fuller and the Declaration of Patrick Dillon;

Memorandum in Support of Kintera, Inc.’s Objection and Motion to

Strike the Declaration of Chad Fuller and the Declaration of Patrick
Dillon (FILED UNDER SEAL);

[Proposed] Order Granting Kintera, Inc.’s Objection and Motion to
Strike;

Declaration of Ethan Andelman in Support of Kintera, Inc.’s
Objection and motion to Strike the Declaration of Chad Fuller and
the Declaration of Patrick Dillon (FILED UNDER SEAL);

Kintera, Inc.’s Ex Parte Application to Shorten Time for Hearing on
Objection and Motion to Strike;

{Proposed] Order Granting Kintera, Inc.’s Ex Parte Application to
Shorten Time for Hearing on Objection and Motion to Strike;
Kintera, Inc.’s Notice of Motion and Motion to File Under Seal (i)
the Memorandum of Points and Authorities in Support of Objection
and Motion to Strike and (ii) The Declaration of Ethan B. Andelman

in Support of Objection and Motion to Strike; and

Certificate of Service
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‘Case

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10. [Proposed] Order Granting Kintera, Inc.’s Motion to File Under Seal
(i) the Memorandum of Points and Authorities in Support of
Objection and Motion to Strike and (ii) the Declaration of Ethan B.

Andelman in Support of Objection and motion to Strike

to be served on counsel for the interested parties in the above- captioned action addressed

as follows, via the indicated method:

FEDERAL EXPRESS

Chad R. Fuller, Esq.
Heller Ehrman White & McAuliffe, LLP
4350 La Jolla Village Drive, 7" Floor
San Diego, CA 92122-1246
I declare that I am employed in the office of a member of the Bar of this Court at
whose direction this service was made.

I declare under penalty of perjury that the foregoing is true and correct. Executed
at Menlo Park, California, on June 27, 2003.

Hepes. hamedorn

fgyee Yhompson

Certificate of Service
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